                                         Case 2:16-bk-17463-ER     Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24             Desc
                                                                    Main Document    Page 1 of 41


                                          1   SAMUEL R. MAIZEL (Bar No. 189301)
                                              samuel.maizel@dentons.com
                                          2   JOHN A. MOE, II (Bar No. 066893)
                                              john.moe@dentons.com
                                          3   DENTONS US LLP
                                              601 South Figueroa Street, Suite 2500
                                          4   Los Angeles, California 90017-5704
                                              Telephone:    (213) 623-9300
                                          5   Facsimile:    (213) 623-9924

                                          6   Attorneys for Debtor,
                                              GARDENS REGIONAL HOSPITAL
                                          7   AND MEDICAL CENTER, INC.

                                          8

                                          9                              UNITED STATES BANKRUPTCY COURT

                                         10                              CENTRAL DISTRICT OF CALIFORNIA
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                         11                                    LOS ANGELES DIVISION
         DENTONS US LLP




                                         12
            (213) 623-9300




                                         13   In re:                                            Case No. 2:16-bk-17463-ER
                                         14   GARDENS REGIONAL HOSPITAL AND                     Chapter 11
                                              MEDICAL CENTER, INC., dba GARDENS
                                         15   REGIONAL HOSPITAL AND MEDICAL                     DEBTOR’S APPLICATION TO
                                              CENTER,1                                          EMPLOY WILSHIRE PACIFIC
                                         16                                                     CAPITAL ADVISORS AS FINANCIAL
                                                                Debtor                          ADVISOR, NUNC PRO TUNC;
                                         17                                                     DECLARATION OF ERIC J.
                                                                                                WEISSMAN
                                         18
                                                                                                [NO HEARING REQUIRED PURSUANT TO
                                         19                                                     LBR 2015-2(b)(3)]

                                         20

                                         21

                                         22

                                         23

                                         24

                                         25

                                         26

                                         27
                                              1
                                         28    The Debtor is a California nonprofit public benefit corporation, Fed. Tax I.D. No. XX-XXXXXXX.
                                              The Debtor’s mailing address is: 21530 Pioneer Blvd., Hawaiian Gardens, California 90716.


                                              96113257\V-1
                                         Case 2:16-bk-17463-ER            Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24                Desc
                                                                           Main Document    Page 2 of 41


                                          1                  TO   THE     HONORABLE           ERNEST       M.     ROBLES,       UNITED       STATES

                                          2   BANKRUPTCY JUDGE, THE TWENTY LARGEST UNSECURED CREDITORS OF

                                          3   THE DEBTOR, ALL ALLEGED SECURED CREDITORS, THE UNITED STATES OF

                                          4   AMERICA AND THE STATE OF CALIFORNIA, PARTIES REQUESTING SPECIAL

                                          5   NOTICE, AND THE OFFICE OF THE UNITED STATES TRUSTEE:

                                          6                  PLEASE TAKE NOTICE that Gardens Regional Hospital and Medical Center, Inc., a

                                          7   California not for profit corporation, doing business as Gardens Regional Hospital and Medical

                                          8   Center, formerly doing business as Tri-City Regional Medical Center, the debtor and debtor in

                                          9   possession in the above-captioned case (the “Debtor”), by and through his proposed undersigned
                                         10   counsel, submits this application (the “Application”) pursuant to sections 328(a) and 1103 of
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                         11   title 11 of the United States Code (the “Bankruptcy Code”) and Rule 2014 of the Federal Rules of
         DENTONS US LLP




                                         12   Bankruptcy Procedure (the “Bankruptcy Rules”) authorizing the retention and employment of
            (213) 623-9300




                                         13   Wilshire Pacific Capital Advisors, LLC (“Wilshire”) as financial advisor for the Debtor, effective

                                         14   as of June 6, 2016. In support of this Application, the Debtor has attached hereto the Declaration

                                         15   of Eric J. Weissman (the “Weissman Decl.”), and further states as follows:

                                         16                                         JURISDICTION AND VENUE

                                         17                  1.    This Court has jurisdiction over the Application pursuant to 28 U.S.C. § 1334.

                                         18                  2.    Venue for this chapter 11 case and this Application is proper in this Court pursuant

                                         19   to 28 U.S.C. §§ 1408 and 1409. This Application constitutes a core proceeding pursuant to 28
                                         20   U.S.C. § 157(b).

                                         21                                                 BACKGROUND

                                         22                  3.    On June 6, 2016 (the “Petition Date”), the Debtor filed a voluntary petition for

                                         23   relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

                                         24   Central District of California, Los Angeles Division.

                                         25                                             RELIEF REQUESTED

                                         26                  4.    By this Application, the Debtor seeks to employ and retain WPCA as its financial

                                         27   advisor, effective as of the Petition Date. Accordingly, the Debtor respectfully requests the entry
                                         28   of an Order pursuant to sections 328(a) and 1103(a) of the Bankruptcy Code and Rule 2014(a) of


                                                                                                   -2-
                                              96113257\V-1
                                         Case 2:16-bk-17463-ER           Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24               Desc
                                                                          Main Document    Page 3 of 41


                                          1   the Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules"), authorizing the Debtor to

                                          2   employ and retain WPCA as its investment banker and financial advisor to perform advisory

                                          3   services that will be necessary during this case.

                                          4                  5.   Pursuant to section 328(a) of the Bankruptcy Code, the Debtor requests that the

                                          5   Court approve the retention of WPCA on the terms and conditions set forth herein and in the

                                          6   Weissman Declaration, which, inter alia, provides that WPCA will be compensated in accordance

                                          7   with the terms of the letter agreement attached hereto as Exhibit B.

                                          8                                       SERVICES TO BE RENDERED

                                          9                  6.   As set forth in the attached Weissman Declaration, at ¶ 5, WPCA is prepared to
                                         10   render the following services in this case:
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                         11                       a. Review and analysis of the Debtor’s financial, operational and cash flow
                                                                     performance;
         DENTONS US LLP




                                         12
            (213) 623-9300




                                                                  b. Review of the Debtor’s historical operating results, recent performance,
                                         13                          business plan and associated restructuring initiatives, and advise the Debtor
                                                                     and its counsel regarding the Debtor’s business plans, cash flow forecasts,
                                         14                          financial projections, cash flow reporting, claims, and plan alternatives;
                                         15                       c. Advise the Debtor and its counsel with respect to possible capital restructuring
                                                                     and sale and financing alternatives, including providing options regarding
                                         16                          potential courses of action and assisting with the design, structuring and
                                                                     negotiation of alternative restructuring and/or transaction structures;
                                         17
                                                                  d. Lead, analyze, review or assist in a sale process of the Debtor’s assets and add
                                         18                          strategic buyers to a sale process;
                                         19                       e. Review and analyze any proposals the Debtor or its counsel receives from third
                                                                     parties in connection with a sale of assets;
                                         20
                                                                  f. Assist the Debtor and its counsel in identifying and valuing undisclosed assets,
                                         21                          if any, and consult with the Debtor and its counsel on the progress of asset
                                                                     sales, locations, identification, and value;
                                         22
                                                                  g. Preparation of estimated payout or distribution analyses;
                                         23
                                                                  h. Assist the Debtor and its counsel in developing strategies and related
                                         24                          negotiations with the Debtor and other interested parties with respect to
                                                                     treatment of the unsecured creditors under a proposed plan or such treatment
                                         25                          under alternative proposals, including a sale of assets;
                                         26                       i. Preparation of periodic reports and updates to the Debtor regarding the status
                                                                     of the Debtor’s post-petition operating performance, and various other issues
                                         27                          as requested by the Debtor and its counsel to facilitate informed decisions;
                                         28


                                                                                                 -3-
                                              96113257\V-1
                                         Case 2:16-bk-17463-ER            Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24             Desc
                                                                           Main Document    Page 4 of 41


                                          1                        j. Advise the Debtor and its counsel regarding identity and value of avoidance
                                                                      actions; and,
                                          2
                                                                   k. Perform all other services as directed by the Debtor or its counsel and as may
                                          3                           be required in the interests of the creditors.
                                          4                  7.    The Debtor believes that WCPA’s services are necessary to enable the Debtor to
                                          5   fulfill its statutory duties and to maximize recovery for all creditors in this case. Further, WPCA
                                          6   is well-qualified and able to represent the Debtor in a cost-effective, efficient, and timely manner.
                                          7                                         WPCA’S QUALIFICATIONS
                                          8                  8.    WPCA is a FINRA licensed broker dealer that specializes in the healthcare
                                          9   industry. Eric Weissman supervises all activities at WPCA. A copy of his resume is attached as
                                         10   Exhibit “A.” WPCA’s professionals have significant experience in providing investment banking
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                         11   and financial advisory services to distressed hospitals, including negotiating sale transactions,
         DENTONS US LLP




                                         12   financings and balance sheet restructurings, having advised debtors, creditors, secured lenders
            (213) 623-9300




                                         13   and other parties-in-interest on chapter 11 proceedings. See Weissman Decl., ¶ 3.
                                         14                                        PROPOSED COMPENSATION
                                         15                  9.    Pursuant to section 328(a) of the Bankruptcy Code, the Court may approve
                                         16   WPCA’s retention on any reasonable terms. The Debtor submits that the most reasonable terms
                                         17   and conditions are those agreed upon by WPCA and the Debtor, which are substantially similar to
                                         18   those entered into between WPCA and other clients on a daily basis in a competitive market for
                                         19   financial advisory services. Subject to the Court’s approval, WPCA will charge for its services as
                                         20   provided for in the letter agreement between the parties, which provides that: (a) WPCA will be
                                         21   paid a commission of 2.5% on any financing raised by WPCA on behalf of the Debtor; (b)
                                         22   WPCA will be paid the greater of $200,000 or a commission of 2.5% on any sale or other transfer
                                         23   of assets arranged by WPCA on behalf of the Debtor; and (c) a monthly fee of $25,000 for the
                                         24   other financial advisory and bankruptcy reporting work being provided by WPCA to the Debtor.
                                         25   Weissman Decl., ¶ ¶ 9-10.
                                         26                  10.   WPCA commenced working for the hospital on October 7, 2013, in accordance
                                         27   with an Engagement Letter, a copy of which is attached as Exhibit “B.” Over a period of
                                         28   approximately eight months, WPCA arranged for a commitment of $2 million in financing from a


                                                                                                  -4-
                                              96113257\V-1
                                         Case 2:16-bk-17463-ER            Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24             Desc
                                                                           Main Document    Page 5 of 41


                                          1   new management company called Sycamore Health Care Services, owned by Rollins Nelson Grp

                                          2   [sic] and Selvin & Weiner Health Management Co., Inc. The Debtor terminated its relationship

                                          3   with Sycamore Health Care Services on May 31, 2015. Weissman Decl., ¶6.

                                          4                  11.   The Debtor re-engaged WPCA in June 2015 to find a replacement for Sycamore.

                                          5   After conducting an exhaustive marketing process, WPCA negotiated a new transaction for the

                                          6   Debtor with Paladin Healthcare, which commenced providing comprehensive management

                                          7   services in October 2015. Weissman Decl., ¶ 7.

                                          8                  12.   WPCA also arranged for a mezzanine credit facility with Paladin’s affiliate,

                                          9   Harbor Gardens Capital 1, LLC. Funded in several tranches from October 2015 through February
                                         10   2016, the balance on the Harbor credit facility grew to $2.5 million. WPCA was entitled to a
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                         11   success fee equal to 5% of the total credit facility ($125,500), plus $30,000 in unpaid monthly
         DENTONS US LLP




                                         12   retainer fees, plus accrued interest of 1.5% per month. In February 2016, Debtor requested that
            (213) 623-9300




                                         13   WPCA help it to secure Debtor in Possession (DIP) financing and to provide other critical

                                         14   financial advisory services to help to prepare the Debtor’s bankruptcy petition. WPCA agreed to

                                         15   provide such services. Weissman Decl., ¶ 8.

                                         16                  13.   WPCA is willing to continue to provide financial advisory services to the Debtor

                                         17   postpetition under the terms and conditions set forth in this Application. Weissman Decl., ¶ 9.

                                         18                  14.   On the Petition Date, WPCA was owed more than $172,000 by the Debtor but has

                                         19   agreed to waive that prepetition claim. Weissman Decl.,¶ 8.
                                         20                  15.   In regards to WCPA’s commitment to help secure financing and other critical

                                         21   financial advisory services as well as it efforts in assisting the Debtor in conducting an auction of

                                         22   the Debtor's assets, the Debtor agrees to pay to WPCA (a) 2.5% of any DIP financing obtained

                                         23   and paid to the Debtor, and (b) the greater of 2.5% or $200,000 if any sale transaction is

                                         24   completed, as described in the October 7, 2013, engagement letter (Exhibit “B”) and Amendment

                                         25   Number Two to that Agreement. Weissman Decl., ¶ 9.

                                         26                  16.   WPCA will charge for its additional advisors’ services described in Paragraph 5

                                         27   above a flat monthly fee of $25,000. Weissman Decl., ¶ 10.
                                         28                  17.   Eric Weissman will be primarily responsible for the work in this case. The hourly


                                                                                                  -5-
                                              96113257\V-1
                                         Case 2:16-bk-17463-ER            Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24              Desc
                                                                           Main Document    Page 6 of 41


                                          1   rates applicable to anticipated professionals assigned to this are as follows: (i) Eric J. Weissman

                                          2   (President) - $300/hour; (ii) Mary Lane (Managing Director) - $300/hour; (iii) Derek Buchanan

                                          3   (Vice President) - $200/hour, and (iv) S. Joshua Davidson (Director) - $200/hour. Weissman

                                          4   Decl., ¶ 11.

                                          5                  18.   WPCA will also seek reimbursement, subject to the Court’s approval, for all actual

                                          6   out-of-pocket expenses incurred by WPCA on the Debtor’s behalf, such as document

                                          7   reproduction and telecopier charges, mail and express mail charges, travel expenses, overnight

                                          8   courier expenses, and other disbursements. WPCA will charge for these expenses in a manner

                                          9   and at rates consistent with charges made generally to WPCA other clients. WPCA will make
                                         10   every effort to minimize expenses in this case. Weissman Decl., ¶ 12.
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                         11                  19.   WPCA will maintain detailed records of any actual and necessary costs incurred in
         DENTONS US LLP




                                         12   connection with the aforementioned services. Weissman Decl., ¶ 13.
            (213) 623-9300




                                         13                  20.   WPCA intends to apply to the Court for compensation and reimbursement of

                                         14   expenses in accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy

                                         15   Rules, further Orders of this Court and the Guidelines established by the Office of the United

                                         16   States Trustee for all services performed and expenses incurred. Weissman Decl., ¶ 14.

                                         17                  21.   WPCA understands that, notwithstanding any court-approved procedures for

                                         18   interim compensation and reimbursement of expenses, any and all compensation for services

                                         19   rendered and expenses incurred on behalf of the Debtor during the cases shall be subject to Court
                                         20   approval, after notice and hearing. WPCA further understands that the sole source of such

                                         21   compensation shall be from the Debtor’s bankruptcy estate. Weissman Decl., ¶ 15.

                                         22                  22.   The Debtor requests – and WPCA understands – that all advisory fees and related

                                         23   costs incurred by the Debtor on account of services rendered by WPCA in this case be paid as

                                         24   administrative expenses of the Debtor’s estate in accordance with the Bankruptcy Code and

                                         25   applicable Orders entered in this case.

                                         26                                            DISINTERESTEDNESS

                                         27                  23.   Neither Eric Weissman, WPCA, nor any director or associate thereof: (a) hold or
                                         28   represent any interest adverse to the Debtor or its estate, largest creditors, or equity security


                                                                                                  -6-
                                              96113257\V-1
                                         Case 2:16-bk-17463-ER            Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24              Desc
                                                                           Main Document    Page 7 of 41


                                          1   holders; or, (b) represent any other entity in connection with these cases having an interest

                                          2   adverse to the Debtor. Further, other than in connection with this case, WPCA has no connection

                                          3   with the Debtor, its creditors, or any other party-in-interest herein, or their respective attorneys or

                                          4   accountants, or the United States Trustee or any person employed in the Office of the United

                                          5   States Trustee, except as set forth below. Accordingly, WPCA is a “disinterested person” within

                                          6   the meaning of section 101(14) of the Bankruptcy Code. Weissman Decl., ¶ 16.

                                          7                  24.   From time to time, WPCA may have represented, may currently represent, or may

                                          8   in the future represent, certain of the Debtor’s creditors and other parties-in-interest, or interests

                                          9   adverse to such creditors or parties-in-interest, in matters unrelated to this case. Weissman
                                         10   Decl.,¶ 17.
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                         11                  25.   WPCA has searched WPCA’s conflicts database; this conflicts check did not
         DENTONS US LLP




                                         12   reveal any conflicts with any of the known creditors or other parties-in-interest. Therefore, upon
            (213) 623-9300




                                         13   reasonable inquiry and to the best of its knowledge, WPCA has determined that WPCA does not

                                         14   represent any interests adverse to the Debtor or creditors of the estate in this case. Weissman

                                         15   Decl.,¶ 18.

                                         16                  26.   WPCA is conducting a continuing inquiry to ascertain whether there exists any

                                         17   connections which would affect, or appear to affect, WPCA’s status as a “disinterested person.”

                                         18   If additional disclosure is required, WPCA will promptly file a Supplemental Statement with this

                                         19   Court after this inquiry is completed. Weissman Decl., ¶ 19.
                                         20                  27.   WPCA has not entered into any arrangement to share any compensation that may

                                         21   be awarded by the Court, except as permitted under section 504(b) of the Bankruptcy Code.

                                         22                  28.   WPCA further states, in accordance with Bankruptcy Rule 5002, that no

                                         23   professional at WPCA is a relative of the bankruptcy judge assigned to the Debtor’s bankruptcy

                                         24   case. Weissman Decl., ¶ 20.

                                         25                                           RETROACTIVE RELIEF

                                         26                  29.   The Debtor requests that this Application be approved retroactive to June 6, 2016,

                                         27   the date of the filing of the Debtor's petition. It is well-established that bankruptcy courts have
                                         28   the authority and discretion to approve nunc pro tunc orders for the employment of professionals.


                                                                                                  -7-
                                              96113257\V-1
                                         Case 2:16-bk-17463-ER            Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24            Desc
                                                                           Main Document    Page 8 of 41


                                          1   See Atkins v. Wain, Samuel & Co. (In re Atkins), 69 F.3d 970, 973 (9th Cir. 1995); Halperin v.

                                          2   Occidental Fin. Group, Inc. (In re Occidental Fin. Group, Inc.), 40 F.3d 1059, 1062 (9th Cir.

                                          3   1994). Whether to approve an application for employment nunc pro tunc is left to the bankruptcy

                                          4   court’s discretion. In re Kroeger Prop. and Dev., Inc., 57 B.R. 821, 822 (9th Cir. BAP 1986).

                                          5   The Debtor submits that retroactive approval of WPCA’s retention is appropriate under the

                                          6   circumstances because of: (1) the short duration of time between the retention of WPCA and the

                                          7   filing of this Application; (2) the pressing need for WPCA's assistance in conducting the sale of

                                          8   the Debtor's assets; and (3) the need for WPCA’s services immediately after its petition date by

                                          9   the Debtor. See In re Sinor, 87 B.R. 620 (Bankr. E.D. Cal. 1988) (30 days from start of services
                                         10   presumed to be a reasonable time within which professional must seek retroactive employment.).
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                         11   Moreover, Mr. Weissman has already provided essential services to the Debtor since this case
         DENTONS US LLP




                                         12   was commenced, including filing two important declarations in support of, among other things,
            (213) 623-9300




                                         13   the Debtor obtaining the necessary Debtor in Possession financing to avoid immediate and

                                         14   irreparable harm to the Debtor.        He is now organizing the filing of the Debtor's schedules and

                                         15   statement of financial affairs, and will serve as the point of contact for all potential buyers of the

                                         16   Debtor's assets at the upcoming auction, currently scheduled for July 11, 2016.

                                         17                                                   NOTICE

                                         18                  WHEREFORE, the Debtor, through his proposed counsel, respectfully requests that the

                                         19   Court: (a) authorize the Debtor, pursuant to sections 328(a) and 1103 of the Bankruptcy Code
                                         20   and Bankruptcy Rule 2014, to retain and employ WPCA in accordance with the terms hereof,

                                         21   retroactive to June 6, 2016; and (b) grant such other and further relief as the Court deems just and

                                         22   proper.
                                                                                                    DENTONS US LLP
                                         23   Dated: June 29, 2016                                  SAMUEL R. MAIZEL
                                                                                                    JOHN A. MOE, II
                                         24

                                         25
                                                                                                    By /s/ Samuel R. Maizel
                                         26                                                                SAMUEL R. MAIZEL
                                         27                                                         Attorneys for Gardens Regional Hospital And
                                                                                                    Medical Center, Inc.
                                         28


                                                                                                 -8-
                                              96113257\V-1
                                         Case 2:16-bk-17463-ER              Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24               Desc
                                                                             Main Document    Page 9 of 41


                                          1                                    DECLARATION OF ERIC J. WEISSMAN

                                          2                  I, Eric J. Weissman, hereby declare under penalty of perjury as follows:

                                          3                  1.     I am the President of Wilshire Pacific Capital Advisors, LLC (“WPCA”), with its

                                          4   office located at 8447 Wilshire Boulevard, Suite 202, Beverly Hills, California 90211. I am over

                                          5   the age of 18 and competent to testify as to the facts set forth herein and will do so if called upon.

                                          6                  2.     I am familiar with the matters set forth herein and make this Declaration in support

                                          7   of the Application of the Debtor to Employ WPCA as Financial Advisor (the “Application”) filed

                                          8   in the chapter 11 case of Gardens Regional Hospital And Medical Center, Inc. (the “Debtor”).

                                          9                  3.     WPCA is a FINRA licensed broker dealer that specializes in the healthcare
                                         10   industry. I supervise all activities at the firm. A copy of my resume is attached as Exhibit “A”.
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                         11   WPCA’s professionals have significant experience in providing financial advisory services to
         DENTONS US LLP




                                         12   distressed hospitals, including negotiating sale transactions, financings and balance sheet
            (213) 623-9300




                                         13   restructurings, having advised debtors, creditors, secured lenders and other parties-in-interest on

                                         14   chapter 11 proceedings.

                                         15                  4.     WPCA and its employees are duly qualified to perform all functions that are

                                         16   required in relation to their proposed employment as financial advisor to the Debtor.

                                         17                  5.     WPCA will provide the following financial advisory services to the extent

                                         18   requested by the Debtor and its counsel and as agreed upon by WPCA:

                                         19                  a.     Review and analysis of the Debtor’s financial, operational and cash flow
                                         20   performance;

                                         21                  b.     Review of the Debtor’s historical operating results, recent performance, business

                                         22   plan and associated restructuring initiatives and advise the Debtor and its counsel regarding the

                                         23   Debtor’s business plans, cash flow forecasts, financial projections, cash flow reporting, claims,

                                         24   and plan alternatives;

                                         25                  c.     Advise the Debtor and its counsel with respect to possible capital restructuring and

                                         26   sale and financing alternatives, including providing options regarding potential courses of action

                                         27   and assisting with the design, structuring and negotiation of alternative restructuring and/or
                                         28   transaction structures;


                                                                                                    -9-
                                              96113257\V-1
                                         Case 2:16-bk-17463-ER           Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24               Desc
                                                                          Main Document    Page 10 of 41


                                          1                  d.   Lead, analyze, review or assist in a sale process of the Debtor’s assets and add

                                          2   strategic buyers to a sale process;

                                          3                  e.   Review and analyze any proposals the Debtor receives from third parties in

                                          4   connection with a sale of assets;

                                          5                  f.   Assist the Debtor and its counsel in identifying and valuing undisclosed assets, if

                                          6   any, and consult with the Debtor and its counsel on the progress of asset sales, locations,

                                          7   identification, and value;

                                          8                  g.   Preparation of estimated payout or distribution analyses;

                                          9                  h.   Assist the Debtor and its counsel and its counsel in developing strategies and
                                         10   related negotiations with the Debtor and other interested parties with respect to treatment of the
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                         11   unsecured creditors under a proposed plan or such treatment under alternative proposals,
         DENTONS US LLP




                                         12   including a sale of assets;
            (213) 623-9300




                                         13                  i.   Preparation of periodic reports and updates to the Debtor and its counsel regarding

                                         14   the status of the Debtor’s post-petition operating performance, and various other issues as

                                         15   requested by the Debtor and its counsel to facilitate informed decisions;

                                         16                  j.   Advise the Debtor and its counsel regarding identity and value of avoidance

                                         17   actions; and

                                         18                  k.   Perform all other services as directed by the Debtor or its counsel and as may be

                                         19   required in the interests of the creditors.
                                         20                  6.   WPCA commenced working for the hospital on Oct 7, 2013, in accordance with an

                                         21   Engagement Letter, a copy of which is attached as Exhibit “B”. Over a period of approximately

                                         22   eight months, WPCA arranged for a commitment of $2 million in financing from a new

                                         23   management company called Sycamore Health Care Services, owned by Rollins Nelson and

                                         24   Selvin & Weiner Health Management Co., Inc. The Debtor terminated its relationship with

                                         25   Sycamore Health Care Services on May 31, 2015, due to a combination of compliance issues and

                                         26   failure to completely fund the $2 million financing.

                                         27                  7.   The Debtor re-engaged WPCA in June 2015 to find a replacement for Sycamore.
                                         28   After conducting an exhaustive marketing process, WPCA negotiated a new transaction for the


                                                                                                 - 10 -
                                              96113257\V-1
                                         Case 2:16-bk-17463-ER           Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24            Desc
                                                                          Main Document    Page 11 of 41


                                          1   Debtor with Paladin Healthcare, which commenced providing comprehensive management

                                          2   services in October 2015.

                                          3                  8.    WPCA also arranged for a mezzanine credit facility with Paladin’s affiliate,

                                          4   Harbor Gardens Capital 1, LLC. Funded in several tranches from October 2015 through February

                                          5   2016, the balance on the Harbor credit facility has grown to $2.5 million. WPCA was entitled to

                                          6   a success fee equal to 5% of the total credit facility, $125,500, plus $30,000 in unpaid monthly

                                          7   retainer fees, plus accrued interest of 1.5% per month. The unpaid balance as of March 31, 2016,

                                          8   was equal to $165,012. Subsequently, WPCA agreed to waive 50% of its unpaid balance of

                                          9   $165,012, provided that the Debtor cured the remaining 50% balance as soon as it obtains its DIP
                                         10   financing. Debtor also committed to pay down the amount due by $15,000 per month in advance
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                         11   starting March 1, 2016.         In any event, on the Petition Date, the Debtor owned more than
         DENTONS US LLP




                                         12   $172,000.00 to WPCA, all of which WPCA will waive.
            (213) 623-9300




                                         13                  9.    In February 2016, Debtor requested that WPCA help it to secure Debtor in

                                         14   Possession (DIP) financing and to provide other critical financial advisory services to help to

                                         15   prepare the Debtor’s bankruptcy petition. WPCA provided that assistance and is willing to

                                         16   continue to do so, in accordance with the Debtor’s agreement to pay to WPCA, subject to the

                                         17   Court’s approval, as follows: WPCA will charge for its services as provided for in the letter

                                         18   agreement between the parties, which provides that: (a) WPCA will be paid a commission of

                                         19   2.5% on any financing raised by WPCA on behalf of the Debtor; and (b) WPCA will be paid the
                                         20   greater of $200,000 or a commission of 2.5% on any sale or other transfer of assets arranged by

                                         21   WPCA on behalf of the Debtor.

                                         22                  10.   WPCA will charge for its additional advisors’ services described in Paragraph 5

                                         23   above on a flat monthly fee of $25,000. WPCA understands that proposed payments are subject

                                         24   to review and approval of the Bankruptcy Court.

                                         25                  11.   I will be primarily responsible for the work in this case.   The hourly rates

                                         26   applicable to anticipated professionals assigned to this are as follows: (i) Eric J. Weissman

                                         27   (President) - $300/hour; (ii) Mary Lane (Managing Director) - $300/hour; (iii) Derek Buchanan
                                         28   (Vice President) - $200/hour, and (iv) S. Joshua Davidson (Director) - $200/hour.             In all


                                                                                                - 11 -
                                              96113257\V-1
                                         Case 2:16-bk-17463-ER            Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24               Desc
                                                                           Main Document    Page 12 of 41


                                          1   appropriate circumstances, WPCA will employ the services of junior professionals in order to

                                          2   minimize administrative expenses to the estate.

                                          3                  12.   WPCA will also seek reimbursement, subject to the Court’s approval, for all actual

                                          4   out-of-pocket expenses incurred by WPCA on the Debtor’s behalf, such as document

                                          5   reproduction and telecopier charges, mail and express mail charges, travel expenses, overnight

                                          6   courier expenses, and other disbursements. WPCA will charge for these expenses in a manner

                                          7   and at rates consistent with charges made generally to WPCA other clients. WPCA will make

                                          8   every effort to minimize expenses in this case.

                                          9                  13.   WPCA will maintain detailed records of any actual and necessary costs incurred in
                                         10   connection with the aforementioned services.
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                         11                  14.   WPCA intends to apply to the Court for compensation and reimbursement of
         DENTONS US LLP




                                         12   expenses in accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy
            (213) 623-9300




                                         13   Rules, further Orders of this Court and the Guidelines established by the Office of the United

                                         14   States Trustee for all services performed and expenses incurred.

                                         15                  15.   WPCA understands that, notwithstanding any court-approved procedures for

                                         16   interim compensation and reimbursement of expenses, any and all compensation for services

                                         17   rendered and expenses incurred on behalf of the Debtor during the cases shall be subject to Court

                                         18   approval, after notice and hearing. WPCA further understands that the sole source of such

                                         19   compensation shall be from the Debtor’s bankruptcy estate.
                                         20                  16.   Neither I, WPCA, nor any director or associate thereof, insofar as I have been able

                                         21   to ascertain and except as set forth below: (a) hold or represent any interest adverse to the Debtor

                                         22   or its estate, largest creditors, or equity security holders; or (b) represent any other entity in

                                         23   connection with these cases having an interest adverse to the Debtor. Further, insofar as I have

                                         24   been able to ascertain, other than in connection with this case, WPCA has no connection

                                         25   (connection being defined as a familial or professional relationship) with the Debtor, its creditors,

                                         26   or any other party-in-interest herein, or their respective attorneys or accountants, or the United

                                         27   States Debtor or any person employed in the Office of the United States Debtor, except as set
                                         28


                                                                                                  - 12 -
                                              96113257\V-1
                                         Case 2:16-bk-17463-ER              Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24              Desc
                                                                             Main Document    Page 13 of 41


                                           1   forth below. Accordingly, I believe WPCA is a “disinterested person” within the meaning of

                                           2   section 101(14) of the Bankruptcy Code.

                                           3                  17.    From time to time, WPCA may have represented, may currently represent, or may

                                           4   in the future represent, certain of the Debtor’s creditors and other parties-in-interest, or interests

                                           5   adverse to such creditors or parties in interest, in matters unrelated to this case.

                                           6                  18.    Specifically, in reaching this conclusion, my staff has searched WPCA’s conflicts

                                           7   database; this conflicts check did not reveal any conflicts with any of the known creditors or other

                                           8   parties-in-interest. Therefore, upon reasonable inquiry and to the best of my knowledge, I have

                                           9   determined that WPCA does not represent any interests adverse to the Debtor or creditors of the
                                          10   estate in this case.
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11                  19.    WPCA is conducting a continuing inquiry to ascertain whether there exists any
         DENTONS US LLP




                                          12   connections which would affect, or appear to affect, WPCA’s status as a “disinterested person.”
            (213) 623-9300




                                          13   If additional disclosure is required, I will promptly file a Supplemental Statement with this Court

                                          14   after this inquiry is completed.

                                          15                  20.    WPCA has not entered into any arrangement to share any compensation that may

                                          16   be awarded by the Court, except as permitted under section 504(b) of the Bankruptcy Code.

                                          17   WPCA further states, in accordance with Bankruptcy Rule 5002, that no professional at WPCA is

                                          18   a relative of the bankruptcy judge assigned to the Debtor’s bankruptcy case.

                                          19                  I state hereby under penalty of perjury, under laws of the United States of America, that

                                          20   the foregoing is true and correct to the best of my knowledge, information and/or belief.

                                          21                  Executed this 29th day of June, 2016.

                                          22

                                          23

                                          24

                                          25                                                              ____________________________________
                                          26                                                              Eric J. Weissman

                                          27
                                          28


                                                                                                      - 13 -
                                               96113257\V-1
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 14 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 15 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 16 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 17 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 18 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 19 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 20 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 21 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 22 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 23 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 24 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 25 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 26 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 27 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 28 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 29 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 30 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 31 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 32 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 33 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 34 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 35 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 36 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 37 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 38 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 39 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 40 of 41
Case 2:16-bk-17463-ER   Doc 134 Filed 06/29/16 Entered 06/29/16 15:39:24   Desc
                         Main Document    Page 41 of 41
